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 1                          UNITED STATES DISTRICT COURT
 2                                 DISTRICT OF NEVADA
 3
 4   RAYE THERESA ZAMMIT,                       Case No. 2:21-cv-00738-JAD-NJK
 5         Plaintiff(s),                         Final Judgment in a Civil Case
 6   v.
 7   RICHARD SOLOMONS, et al.,
 8         Defendant(s).
 9   TANYA RENEE ROBERSON,                      Case No. 2:21-cv-00740-JAD-NJK
10         Plaintiff(s),                         Final Judgment in a Civil Case
11   v.
12   FRANK GIUNTA,
13         Defendant(s).
14   AARON JOHN DEVRIES, et al.,                Case No. 2:21-cv-00741-JAD-NJK
15         Plaintiff(s),                         Final Judgment in a Civil Case
16   v.
17   JASON MIKKELSEN,
18         Defendant(s).
19   ALESA LYN HART,                            Case No. 2:21-cv-00742-JAD-NJK
20         Plaintiff(s),                         Final Judgment in a Civil Case
21   v.
22   DAVID SIMON, et al.,
23         Defendant(s).
24   BAHAELDEEN JACKNOON,                       Case No. 2:21-cv-00743-JAD-NJK
25         Plaintiff(s),                         Final Judgment in a Civil Case
26   v.
27   FLORENCE J. ARM,
28         Defendant(s).

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 1   ALESA LYN HART,                           Case No. 2:21-cv-00744-JAD-NJK
 2         Plaintiff(s),                        Final Judgment in a Civil Case
 3   v.
 4   PELICAN PLAZA MANAGEMENT
     COMPANY, LLC, et al.,
 5
           Defendant(s).
 6
     BARBARA J. STRUTHERS,                     Case No. 2:21-cv-00745-JAD-NJK
 7
           Plaintiff(s),                        Final Judgment in a Civil Case
 8
     v.
 9
     MORTON SCHAPIRO, et al.,
10
           Defendant(s).
11
     ALESA LYN HART,                           Case No. 2:21-cv-00746-JAD-NJK
12
           Plaintiff(s),                        Final Judgment in a Civil Case
13
     v.
14
     NATHAN BENDERSON,
15
           Defendant(s).
16
     BECKY BARNES-BOERS,                       Case No. 2:21-cv-00747-JAD-NJK
17
           Plaintiff(s),                        Final Judgment in a Civil Case
18
     v.
19
     FIRST STREET SCHOOL, et al.,
20
           Defendant(s).
21
     ALESA LYNN HART,                          Case No. 2:21-cv-00748-JAD-NJK
22
           Plaintiff(s),                        Final Judgment in a Civil Case
23
     v.
24
     STEPHEN F. LOVELL,
25
           Defendant(s).
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 1   BETTY J. BENNING,                         Case No. 2:21-cv-00749-JAD-NJK
 2         Plaintiff(s),                        Final Judgment in a Civil Case
 3   v.
 4   GARY C. MOHR, et al.,
 5         Defendant(s).
 6   ELEANOR CLAIRE D’AMICO,                   Case No. 2:21-cv-00751-JAD-NJK
 7         Plaintiff(s),
                                                Final Judgment in a Civil Case
 8   v.
 9   RITE AID STORE #10640, MANAGER, et
     al.,
10
           Defendant(s).
11
     ALESA LYN HART,                           Case No. 2:21-cv-00752-JAD-NJK
12
           Plaintiff(s),                        Final Judgment in a Civil Case
13
     v.
14
     ARNE SORENSON, et al.,
15
           Defendant(s).
16
     ELEANOR CLAIRE D’AMICO,                   Case No. 2:21-cv-00753-JAD-NJK
17
           Plaintiff(s),                        Final Judgment in a Civil Case
18
     v.
19
     MACY’S GENERAL MANAGER, et al.,
20
           Defendant(s).
21
     TENNILLE IRENE HOUSTON,                   Case No. 2:21-cv-00754-JAD-NJK
22
           Plaintiff(s),                        Final Judgment in a Civil Case
23
     v.
24
     BRIAN BEAN, et al.,
25
           Defendant(s).
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 1   AMORINE LEWIS,                            Case No. 2:21-cv-00755-JAD-NJK
 2         Plaintiff(s),
                                                Final Judgment in a Civil Case
 3   v.
 4   ROSSMORE PARK HOA PRESIDENT, et
     al.,
 5
           Defendant(s).
 6
     ELEANOR CLARE D’AMICO,                    Case No. 2:21-cv-00756-JAD-NJK
 7
           Plaintiff(s),                        Final Judgment in a Civil Case
 8
     v.
 9
     U.S. POST OFFICE, MANAGER, et al.,
10
           Defendant(s).
11
     TERESA ANN MCCONNELL,                     Case No. 2:21-cv-00757-JAD-NJK
12
           Plaintiff(s),                        Final Judgment in a Civil Case
13
     v.
14
     TERESA PARKHURST,
15
           Defendant(s).
16
     ELEANOR CLAIRE D’AMICO,                   Case No. 2:21-cv-00758-JAD-NJK
17
           Plaintiff(s),                        Final Judgment in a Civil Case
18
     v.
19
     BED, BATH & BEYOND, et al.,
20
           Defendant(s).
21
     TERRI JAYNE READ,                         Case No. 2:21-cv-00759-JAD-NJK
22
           Plaintiff(s),                        Final Judgment in a Civil Case
23
     v.
24
     HOLIDAY INN CLUB VACATIONS, et al.,
25
           Defendant(s).
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 1   ELEANOR CLAIRE D’AMICO,                   Case No. 2:21-cv-00760-JAD-NJK
 2         Plaintiff(s),                        Final Judgment in a Civil Case
 3   v.
 4   HUNTINGTON HOSPITAL, et al.,
 5         Defendant(s).
 6   AMY DEANNA HOOD,                          Case No. 2:21-cv-00761-JAD-NJK
 7         Plaintiff(s),                        Final Judgment in a Civil Case
 8   v.
 9   JOHN C. MALONE, et al.,
10         Defendant(s).
11   ELEANOR CLARE D’AMICO,                    Case No. 2:21-cv-00762-JAD-NJK
12         Plaintiff(s),                        Final Judgment in a Civil Case
13   v.
14   WALT WHITMAN SHOPS, et al.,
15         Defendant(s).
16   THOMAS K. BEADLING,                       Case No. 2:21-cv-00763-JAD-NJK
17         Plaintiff(s),                        Final Judgment in a Civil Case
18   v.
19   JENNIFER CUTHBERT, et al.,
20         Defendant(s).
21   ANDY SEEMAN,                              Case No. 2:21-cv-00764-JAD-NJK
22         Plaintiff(s),                        Final Judgment in a Civil Case
23   v.
24   MATTHEW JOBLON, et al.,
25         Defendant(s).
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 1   ELEANOR CLAIRE D’AMICO,                     Case No. 2:21-cv-00766-JAD-NJK
 2           Plaintiff(s),                        Final Judgment in a Civil Case
 3   v.
 4   COSTCO WHOLESALE, et al.,
 5           Defendant(s).
 6   ELEANOR CLAIRE D’AMICO,                     Case No. 2:21-cv-00767-JAD-NJK
 7           Plaintiff(s),                        Final Judgment in a Civil Case
 8   v.
 9   THE HOME DEPOT, et al.,
10           Defendant(s).
11   ELEANOR CLAIRE D’AMICO,                     Case No. 2:21-cv-00769-JAD-NJK
12           Plaintiff(s),                        Final Judgment in a Civil Case
13   v.
14   STOP & SHOP, et al.,
15           Defendant(s).
16   ELEANOR CLAIRE D’AMICO,                     Case No. 2:21-cv-00771-JAD-NJK
17           Plaintiff(s),                        Final Judgment in a Civil Case
18   v.
19   STAPLES, et al.,
20           Defendant(s).
21   T.R.J., et al.,                             Case No. 2:21-cv-00772-JAD-NJK
22           Plaintiff(s),                        Final Judgment in a Civil Case
23   v.
24   MR. ANDREY KRUGLYKIN, et al.,
25           Defendant(s).
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 1   ANNE ELIZABETH FERRANTE,                   Case No. 2:21-cv-00774-JAD-NJK
 2           Plaintiff(s),                       Final Judgment in a Civil Case
 3   v.
 4   SC INVESTMENTS LAS VEGAS INC., et
     al.,
 5
             Defendant(s).
 6
     C.C.H., et al.,                            Case No. 2:21-cv-00775-JAD-NJK
 7
             Plaintiff(s),                       Final Judgment in a Civil Case
 8
     v.
 9
     DELLCOR MANAGEMENT, INC.,
10
             Defendant(s).
11
     JENNIFER C. MUELLER,                       Case No. 2:21-cv-00776-JAD-NJK
12
             Plaintiff(s),                       Final Judgment in a Civil Case
13
     v.
14
     TERRY MANUEL, et al.,
15
             Defendant(s).
16
     ANTHONY JOHN AMORELLO,                     Case No. 2:21-cv-00777-JAD-NJK
17
             Plaintiff(s),                       Final Judgment in a Civil Case
18
     v.
19
     DOUGLAS A. KESSLER, et al.,
20
             Defendant(s).
21
     TRICHELE REESE,                            Case No. 2:21-cv-00778-JAD-NJK
22
             Plaintiff(s),                       Final Judgment in a Civil Case
23
     v.
24
     TISHMAN SPEYER PROPERTIES, LP, et
25   al.,
26           Defendant(s).
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 1   JOHN DONALD MESZAROS, et al.,               Case No. 2:21-cv-00779-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   INTERVAL INTERNATIONAL, INC., et al.,
 5         Defendant(s).
 6   VALERIE BATCHELOR, et al.,                  Case No. 2:21-cv-00780-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   CHRISTOPHER J. NASSETTA, et al.,
10         Defendant(s).
11   CAROL A. WILLIAMS,                          Case No. 2:21-cv-00781-JAD-NJK
12         Plaintiff(s),
                                                 Final Judgment in a Civil Case
13   v.
14   EXTENDED STAY OF AMERICA
     ATLANTA MANAGER, et al.,
15
           Defendant(s).
16
     JOHN SMITH WILLIAMS,                        Case No. 2:21-cv-00782-JAD-NJK
17
           Plaintiff(s),                         Final Judgment in a Civil Case
18
     v.
19
     MICHAEL W. BRYANT,
20
           Defendant(s).
21
     WILLIAM FREDERICK SAAR,                     Case No. 2:21-cv-00783-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     STEVEN B. TANGER, et al.,
25
           Defendant(s).
26
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 1   JUDY KAY KATZ,                            Case No. 2:21-cv-00784-JAD-NJK
 2         Plaintiff(s),                        Final Judgment in a Civil Case
 3   v.
 4   MOLINE POST OFFICE POSTMASTER, et
     al.,
 5
           Defendant(s).
 6
     JULIE SIKORSKY,                           Case No. 2:21-cv-00785-JAD-NJK
 7
           Plaintiff(s),                        Final Judgment in a Civil Case
 8
     v.
 9
     DAVID JEFFREY, et al.,
10
           Defendant(s).
11
     JASON CLARK,                              Case No. 2:21-cv-00786-JAD-NJK
12
           Plaintiff(s),                        Final Judgment in a Civil Case
13
     v.
14
     MOTORWORLD AUTOMOTIVE GROUP,
15   INC., et al.,
16         Defendant(s).
17   JAMES MARTIN WOLF,                        Case No. 2:21-cv-00789-JAD-NJK
18         Plaintiff(s),                        Final Judgment in a Civil Case
19   v.
20   RICHARD SOLOMONS, et al.,
21         Defendant(s).
22   JAN SNELL HOUSTON,                        Case No. 2:21-cv-00790-JAD-NJK
23         Plaintiff(s),                        Final Judgment in a Civil Case
24   v.
25   WALMART SUPERCENTER MANAGER,
     et al.,
26
           Defendant(s).
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 1   JAN SNELL HOUSTON,                         Case No. 2:21-cv-00791-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   DEKALB REGIONAL MEDICAL
     CENTER, et al.,
 5
           Defendant(s).
 6
     JANET J. MCALISTER,                        Case No. 2:21-cv-00792-JAD-NJK
 7
           Plaintiff(s),                         Final Judgment in a Civil Case
 8
     v.
 9
     JACK MILLER, et al.,
10
           Defendant(s).
11
     JANETTE PIRIE,                             Case No. 2:21-cv-00793-JAD-NJK
12
           Plaintiff(s),                         Final Judgment in a Civil Case
13
     v.
14
     DRD HOSPITALITY, INC., et al.,
15
           Defendant(s).
16
     JASON CLARK,                               Case No. 2:21-cv-00794-JAD-NJK
17
           Plaintiff(s),                         Final Judgment in a Civil Case
18
     v.
19
     JOHN LILLY, M.D., et al.,
20
           Defendant(s).
21
     JASON CLARK,                               Case No. 2:21-cv-00795-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     PAUL J. WITT,
25
           Defendant(s).
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 1   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00797-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   KETEWOMOKE YACHT CLUB,
 5         Defendant(s).
 6   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00798-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   TOWN OF HUNTINGTON, NY, et al.,
10         Defendant(s).
11   ELEANOR CLARE D’AMICO,                     Case No. 2:21-cv-00800-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   KMART STORE #9381 MANAGER, et al.,
15         Defendant(s).
16   HEATHER RENEE NANCE,                       Case No. 2:21-cv-00801-JAD-NJK
17         Plaintiff(s),                         Final Judgment in a Civil Case
18   v.
19   DAVE KING, et al.,
20         Defendant(s).
21   HEATHER RENEE NANCE,                       Case No. 2:21-cv-00802-JAD-NJK
22         Plaintiff(s),                         Final Judgment in a Civil Case
23   v.
24   STEPHEN P. JOYCE, et al.,
25         Defendant(s).
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 1   DEBRA L. HUGHSON,                          Case No. 2:21-cv-00803-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   DAVID KONG, et al.,
 5         Defendant(s).
 6   DENNIS J. TROCCIOLA,                       Case No. 2:21-cv-00804-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   PRC GROUP, et al.,
10         Defendant(s).
11   DIANE QUACKENBUSH,                         Case No. 2:21-cv-00805-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   JOEY DECUFFA, et al.,
15         Defendant(s).
16   DOMINIC L. MAZZONE, JR.,                   Case No. 2:21-cv-00806-JAD-NJK
17         Plaintiff(s),                         Final Judgment in a Civil Case
18   v.
19   JANET MOLLEN, et al.,
20         Defendant(s).
21   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00807-JAD-NJK
22         Plaintiff(s),                         Final Judgment in a Civil Case
23   v.
24   KING KULLEN GENERAL MANAGER, et
     al.,
25
           Defendant(s).
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 1   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00808-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   PRIME RESTAURANT MANAGER, et al.,
 5         Defendant(s).
 6   COREY ADAM HANSON,                         Case No. 2:21-cv-00809-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   MICHAEL BRINDSI, et al.,
10         Defendant(s).
11   CHRISTINA EARHEART,                        Case No. 2:21-cv-00810-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   RICHARD SOLOMONS,
15         Defendant(s).
16   GARTH A. LEONARD,                          Case No. 2:21-cv-00811-JAD-NJK
17         Plaintiff(s),                         Final Judgment in a Civil Case
18   v.
19   U.S. POSTAL SERVICES POSTMASTER,
     et al.,
20
           Defendant(s).
21
     CYNTHIA GATES,                             Case No. 2:21-cv-00812-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     WAYNE B. GOLDBERG, et al.,
25
           Defendant(s).
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 1   GINA B. WILLIAMS,                          Case No. 2:21-cv-00813-JAD-NJK
 2         Plaintiff(s),
                                                 Final Judgment in a Civil Case
 3   v.
 4   ALEX C. CABANAS, et al.,
 5         Defendant(s).
 6   CYNTHIA GATES,                             Case No. 2:21-cv-00814-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   CARNIVAL CORPORATION & PLC, et al.,
10         Defendant(s).
11   DALE AUSTIN STOPP,                         Case No. 2:21-cv-00815-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   ANDY FOLEY,
15         Defendant(s).
16   DAVID ALAN FIELDSEND,                      Case No. 2:21-cv-00816-JAD-NJK
17         Plaintiff(s),                         Final Judgment in a Civil Case
18   v.
19   LA QUINTA HOLDINGS, et al.,
20         Defendant(s).
21   DAVID J. WHITE,                            Case No. 2:21-cv-00817-JAD-NJK
22         Plaintiff(s),                         Final Judgment in a Civil Case
23   v.
24   MICHEL T. REYNOLDS, et al.,
25         Defendant(s).
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 1   DAVID HIGGINBOTHAM,                        Case No. 2:21-cv-00818-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   FEDEX CORPORATION, et al.,
 5         Defendant(s).
 6   DAVID HIGGINBOTHAM,                        Case No. 2:21-cv-00819-JAD-NJK
                                                 Final Judgment in a Civil Case
 7         Plaintiff(s),
 8   v.
 9   CAROL Z. GARRISON, et al.,
10         Defendant(s).
11   DAVID HIGGINBOTHAM,                        Case No. 2:21-cv-00820-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   BIRMINGHAM CITY HALL, et al.,
15         Defendant(s).
16   KATHERINE MARY TROTTIER,                   Case No. 2:21-cv-00821-JAD-NJK
17         Plaintiff(s),                         Final Judgment in a Civil Case
18   v.
19   DAVID J.G. BLACKMORE, et al.,
20         Defendant(s).
21   KATHERINE MARY TROTTIER,                   Case No. 2:21-cv-00823-JAD-NJK
22         Plaintiff(s),                         Final Judgment in a Civil Case
23   v.
24   STEVE EASTERBROOK, et al.,
25         Defendant(s).
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 1   KELLY-ANN LARSON,                          Case No. 2:21-cv-00824-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   TRIPLE FIVE GROUP GHERMEZIAN
     BROTHERS,
 5
           Defendant(s).
 6
     KENNETH M. MERONEY,                        Case No. 2:21-cv-00825-JAD-NJK
 7
           Plaintiff(s),                         Final Judgment in a Civil Case
 8
     v.
 9
     CHRISTOPHER J. NASSETTA, et al.,
10
           Defendant(s).
11
     KENNETH MERONY,                            Case No. 2:21-cv-00826-JAD-NJK
12
           Plaintiff(s),                         Final Judgment in a Civil Case
13
     v.
14
     CHRISTOPHER J. NASSETTA, et al.,
15
           Defendant(s).
16
     KRISTEN RICHMOND,                          Case No. 2:21-cv-00827-JAD-NJK
17
           Plaintiff(s),                         Final Judgment in a Civil Case
18
     v.
19
     VALLEY VIEW ELEMENTARY SCHOOL,
20
           Defendant(s).
21
     LAURA BARTEL,                              Case No. 2:21-cv-00828-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     CHOICE HOTELS INTERNATIONAL,
25   INC., et al.,
26         Defendant(s).
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 1   LAURA BARTEL,                              Case No. 2:21-cv-00829-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   BEST WESTERN CORPORATE OFFICE
     AND HEADQUARTERS, et al.,
 5
           Defendant(s).
 6
     LAURA BARTEL,                              Case No. 2:21-cv-00830-JAD-NJK
 7
           Plaintiff(s),                         Final Judgment in a Civil Case
 8
     v.
 9
     WYNDHAM WORLDWIDE
10   CORPORATION, et al.,
11         Defendant(s).
12   LAURA BARTEL,                              Case No. 2:21-cv-00832-JAD-NJK
13         Plaintiff(s),                         Final Judgment in a Civil Case
14   v.
15   LA QUINTA HOLDINGS, et al.,
16         Defendant(s).
17   LAURA BETA GRABER,                         Case No. 2:21-cv-00833-JAD-NJK
18         Plaintiff(s),                         Final Judgment in a Civil Case
19   v.
20   U.S. POSTAL SERVICES, POSTMASTER
     GENERAL, et al.,
21
           Defendant(s).
22
     LAURA XIRENA GONZALEZ,                     Case No. 2:21-cv-00834-JAD-NJK
23
           Plaintiff(s),                         Final Judgment in a Civil Case
24
     v.
25
     DANNY GUTIERREZ, SR., et al.,
26
           Defendant(s).
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 1   LAURALEE TYLER,                            Case No. 2:21-cv-00836-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   BEAR MOUNTAIN STATE PARK, et al.,
 5         Defendant(s).
 6   LINDA SUE WITTUM,                          Case No. 2:21-cv-00838-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   TRAVIS JANTZEN, et al.,
10         Defendant(s).
11   LINK J. CHANEY,                            Case No. 2:21-cv-00840-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   JIMMY HENSON,
15         Defendant(s).
16   LUCRECIA PEREZ,                            Case No. 2:21-cv-00841-JAD-NJK
17         Plaintiff(s),                         Final Judgment in a Civil Case
18   v.
19   STUART D. GOLDSTEIN, et al.,
20         Defendant(s).
21   MARK ALLAN UNTERSCHER,                     Case No. 2:21-cv-00842-JAD-NJK
22         Plaintiff(s),                         Final Judgment in a Civil Case
23   v.
24   STEPHEN P. HOLMES, et al.,
25         Defendant(s).
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 1   MARK ALLAN UNTERSEHER,                     Case No. 2:21-cv-00845-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   HOLIDAY INN CLUB VACATIONS, et al.,
 5         Defendant(s).
 6   MARLA DEWALT SUMMEY,                       Case No. 2:21-cv-00846-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   ST. PAUL’S EPISCOPAL SCHOOL
     BOARD CHAIRMAN AND SCHOOL
10   RECTOR, et al.,
11         Defendant(s).
12   MARLA DEWALT SUMMEY,                       Case No. 2:21-cv-00847-JAD-NJK
13         Plaintiff(s),                         Final Judgment in a Civil Case
14   v.
15   TAMMY WEBB, et al.,
16         Defendant(s).
17   MARY BETH ENGLUND,                         Case No. 2:21-cv-00849-JAD-NJK
18         Plaintiff(s),                         Final Judgment in a Civil Case
19   v.
20   KARYN HUEMOELLER, et al.,
21         Defendant(s).
22   PATRICK CHARLES PARKER,                    Case No. 2:21-cv-00850-JAD-NJK
23         Plaintiff(s),                         Final Judgment in a Civil Case
24   v.
25   JOHN ADAMS, et al.,
26         Defendant(s).
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 1   PAUL ALLEN TAYLOR,                         Case No. 2:21-cv-00851-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   GENE IMEL, et al.,
 5         Defendant(s).
 6   MARYANNE CHRISTINA PIENTA,                 Case No. 2:21-cv-00852-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   ANTHONY CLARK, et al.,
10         Defendant(s).
11   PAUL JAMES CAPASSO,                        Case No. 2:21-cv-00853-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   CHRIS ROUSSOS, et al.,
15         Defendant(s).
16   PAULINE VICTORIA AUGHE,                    Case No. 2:21-cv-00854-JAD-NJK
17         Plaintiff(s),                         Final Judgment in a Civil Case
18   v.
19   ALBERT JEYTE, et al.,
20         Defendant(s).
21   RICK SCHUSSLER,                            Case No. 2:21-cv-00855-JAD-NJK
22         Plaintiff(s),                         Final Judgment in a Civil Case
23   v.
24   STONEPINE HOA PRESIDENT, et al.,
25         Defendant(s).
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 1   ROBERT J. GARLOW,                          Case No. 2:21-cv-00856-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   RICHARD M. BRACKEN, et al.,
 5         Defendant(s).
 6   CONNIE CARR,                               Case No. 2:21-cv-00857-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   BERKLEY SOUTH CONDOMINIUM
     ASSOCIATION, INC., et al.,
10
           Defendant(s).
11
     ROBERT WESLEY HENDERSON,                   Case No. 2:21-cv-00858-JAD-NJK
12
           Plaintiff(s),                         Final Judgment in a Civil Case
13
     v.
14
     CRAIG M. NASH, et al.,
15
           Defendant(s).
16
     ROBIN FLYNN,                               Case No. 2:21-cv-00859-JAD-NJK
17
           Plaintiff(s),                         Final Judgment in a Civil Case
18
     v.
19
     JOHN Z. KUKRAL, et al.,
20
           Defendant(s).
21
     RONALD LEE PENDLETON,                      Case No. 2:21-cv-00860-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     BIGLARI HOLDINGS, et al.,
25
           Defendant(s).
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 1   MARY LOU MATHIS,                           Case No. 2:21-cv-00861-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   PAUL ALLEN, et al.,
 5         Defendant(s).
 6   MELINDA DIANE SCOTT,                       Case No. 2:21-cv-00862-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   ANNA LINNEY,
10         Defendant(s).
11   ROSEMARY RAMIREZ,                          Case No. 2:21-cv-00863-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   LA CAZE DEVELOPMENT COMPANY,
     LLC, et al.,
15
           Defendant(s).
16
     CHARY LYNN HELTON,                         Case No. 2:21-cv-00864-JAD-NJK
17
           Plaintiff(s),                         Final Judgment in a Civil Case
18
     v.
19
     MICHAEL JENSEN-SILVA, et al.,
20
           Defendant(s).
21
     MELISSA COFFEY,                            Case No. 2:21-cv-00865-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     AVA TOLUCA HILLS APARTMENTS,
25
           Defendant(s).
26
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 1   CECIL E. BROWN,                            Case No. 2:21-cv-00866-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   BAL HARBOUR CHATEAUX
     CONDOMINIUM ASSOCIATION, INC., et
 5   al.,
 6         Defendant(s).
 7   CONNIE S. YUNA, et al.,                    Case No. 2:21-cv-00867-JAD-NJK
 8         Plaintiff(s),                         Final Judgment in a Civil Case
 9   v.
10   CAPITAL RESORTS OCEAN VIEW
     VACATION VILLAS, et al.,
11
           Defendant(s).
12
     MICHAEL C. LUCAS,                          Case No. 2:21-cv-00868-JAD-NJK
13
           Plaintiff(s),                         Final Judgment in a Civil Case
14
     v.
15
     JEFFERSON COUNTY PUBLIC LIBRARY,
16   et al.,
17         Defendant(s).
18   NANCY HENDLER,                             Case No. 2:21-cv-00869-JAD-NJK
19         Plaintiff(s),                         Final Judgment in a Civil Case
20   v.
21   ANDREW ALEXANDER, et al.,
22         Defendant(s).
23   NANCY HENDLER,                             Case No. 2:21-cv-00870-JAD-NJK
24         Plaintiff(s),                         Final Judgment in a Civil Case
25   v.
26   WAL-MART STORES, INC., et al.,
27         Defendant(s).
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 1   MICHAEL W. PARKS,                          Case No. 2:21-cv-00871-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   PATRICK H. HAMILL, et al.,
 5         Defendant(s).
 6   NANCY HENDLER,                             Case No. 2:21-cv-00872-JAD-NJK
 7         Plaintiff(s),                         Final Judgment in a Civil Case
 8   v.
 9   GATOR TOWN INN,
10         Defendant(s).
11   MISTIE CORDES RODES,                       Case No. 2:21-cv-00873-JAD-NJK
12         Plaintiff(s),                         Final Judgment in a Civil Case
13   v.
14   DORIS VOITIER, et al.,
15         Defendant(s).
16   PATRICIA BRANDON,                          Case No. 2:21-cv-00874-JAD-NJK
17         Plaintiff(s),                         Final Judgment in a Civil Case
18   v.
19   INTERCONTINENTAL HOTELS GROUP
     (IHG), et al.,
20
           Defendant(s).
21
     PATRICIA BRANDON,                          Case No. 2:21-cv-00875-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     SASSY HENRY, et al.,
25
           Defendant(s).
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 1   MITCHELL E. NIHART SR.,                    Case No. 2:21-cv-00876-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   INDIANA BUREAU OF MOTOR
     VEHICLES, et al.,
 5
           Defendant(s).
 6
     SUSAN BRANDWEIN,                           Case No. 2:21-cv-00877-JAD-NJK
 7
           Plaintiff(s),                         Final Judgment in a Civil Case
 8
     v.
 9
     MEGAN J. BRENNAN, et al.,
10
           Defendant(s).
11
     STEVEN WAYNE SWEDBERG,                     Case No. 2:21-cv-00878-JAD-NJK
12
           Plaintiff(s),                         Final Judgment in a Civil Case
13
     v.
14
     KEITH E. SMITH, et al.,
15
           Defendant(s).
16
     SHELLEY MICHELLE WRIGHT,                   Case No. 2:21-cv-00879-JAD-NJK
17
           Plaintiff(s),                         Final Judgment in a Civil Case
18
     v.
19
     MARK B. ROSENBERG, et al.,
20
           Defendant(s).
21
     MITCHELL J. OELLRICH,                      Case No. 2:21-cv-00880-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     SIX FLAGS DISCOVERY KINGDOM,
25
           Defendant(s).
26
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 1   SHELDON L. KRESLER, et al.,                Case No. 2:21-cv-00881-JAD-NJK
 2         Plaintiff(s),                         Final Judgment in a Civil Case
 3   v.
 4   POMPANO ATLANTIS CONDOMINIUM
     ASSOCIATION, INC., et al.,
 5
           Defendant(s).
 6
     SHARON L. TOWNSEND,                        Case No. 2:21-cv-00882-JAD-NJK
 7
           Plaintiff(s),                         Final Judgment in a Civil Case
 8
     v.
 9
     BRUCE A. CORDINGLEY, et al.,
10
           Defendant(s).
11
     ROSEMARY SALES,                            Case No. 2:21-cv-00883-JAD-NJK
12
           Plaintiff(s),                         Final Judgment in a Civil Case
13
     v.
14
     BLACKSTONE GROUP, L.P., et al.,
15
           Defendant(s).
16
     MITCHELL J. OELLRICH,                      Case No. 2:21-cv-00884-JAD-NJK
17
           Plaintiff(s),                         Final Judgment in a Civil Case
18
     v.
19
     SILVER SMOKE AND LIQUOR STORE,
20
           Defendant(s).
21
     SCOTT D. CHAFFEE,                          Case No. 2:21-cv-00886-JAD-NJK
22
           Plaintiff(s),                         Final Judgment in a Civil Case
23
     v.
24
     THE BLACKSTONE GROUP L.P., et al.,
25
           Defendant(s).
26
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 1   STEVEN WAYNE SWEDBERG,                              Case No. 2:21-cv-00887-JAD-NJK
 2          Plaintiff(s),                                  Final Judgment in a Civil Case
 3   v.
 4   IRWIN MOLASKY, et al.,
 5          Defendant(s).
 6   SIMONE C. DUVEN,                                    Case No. 2:21-cv-00888-JAD-NJK
 7          Plaintiff(s),                                  Final Judgment in a Civil Case
 8   v.
 9   CRAIG M. NASH, et al.,
10          Defendant(s).
11   JAMES MARTIN WOLF,                                  Case No. 2:21-cv-00895-JAD-NJK
12          Plaintiff(s),                                  Final Judgment in a Civil Case
13   v.
14   RICHARD SOLOMONS, et al.,
15          Defendant(s).
16
17                             FINAL JUDGMENT IN A CIVIL CASE
18         This action came for consideration before the Court. The issues have been considered and
19 a decision has been rendered.
20         IT IS ORDERED AND ADJUDGED that Judgment is entered in favor of the
21 Defendant s without prejudice. This matter is now closed.
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